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                      UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

YOLANDA WRIGHT, Individually and on       :
behalf of her minor son, MEKHI BURKETT, and
                                          :
ROSE RITA BAILEY, Individually and on     :
behalf of her minor son, JAWUANE JOHNSON, :
                      Plaintiffs,         :
                                          :
            v.                            :                         No. 5:20-cv-02664
                                          :
WHITEHALL TOWNSHIP, MICHAEL MARKS, :
AARON REED, MICHAEL SLIVKA, KENNETH :
STEPHENS, TIMOTHY DUGAN, BRIAN            :
CUTH, JEFFREY APGAR, MATTHEW RESZEK, :
MICHAEL P. HARAKAL, JR., WHITEHALL-       :
COPLAY SCHOOL DISTRICT, LORIE D.          :
HACKETT, and ROBERT HARTMAN,              :
                  Defendants.             :
__________________________________________

                                           ORDER

       AND NOW, this 12th day of January, 2021, upon consideration of Defendants’ motions

to dismiss Plaintiffs’ Amended Complaint, see ECF Nos. 10, 18, 19, and for the reasons set forth

in the Opinion issued this date, IT IS HEREBY ORDERED THAT:

       1.      Defendants’ motions to dismiss, ECF Nos. 10, 18, 19, are GRANTED.

       2.      Any and all claims against Defendants Michael Marks, Michael Harakal, and

               Lorie Hackett are DISMISSED, with prejudice.

       3.      The following counts of the Amended Complaint are also DISMISSED, with

               prejudice: three and twelve; four and thirteen; six and fifteen; eight and

               seventeen; and nineteen through twenty-two.

       4.      The following counts of the Amended Complaint are DISMISSED, without

               prejudice, and with leave to re-plead: five and fourteen, and seven and sixteen.

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5.      Should Plaintiffs elect to file a second amended complaint, they shall do so within

        twenty-one (21) days of the issuance of this Order.



                                             BY THE COURT:

                                             /s/ Joseph F. Leeson, Jr._________
                                             JOSEPH F. LEESON, JR.
                                             United States District Judge




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